  Case 4:19-mj-00088-VLD Document 1 Filed 12/13/19 Page 1 of 27 PageID #: 1




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION




  In the Matter of the Search Regarding No.                - 89
  19-131-04                                APPLICATION FOR SEARCH AND
                                          SEIZURE WARRANT "REDACTED**




      I, Matthew J. Miller, being duly sworn depose and say:

     I am a Special Agent with the Federal Bureau of Investigation and have
reason to believe that within the property fully described in Attachment A,
attached hereto and incorporated herein by reference, located in the District of
South Dakota, there is now concealed certain property, namely:         that fully
described in Attachment B, attached hereto and incorporated herein by
reference, which I believe is properly constituting evidence of the commission of
criminal offenses, contraband, the fruits of crime, or things otherwise criminally
possessed, or property designed or intended for use or which is or has been used
as the means of committing criminal offenses, concerning violations of 18 U.S.C.
§ 1341 (Mail Fraud); 18 U.S.C. §§ 1343 and 1349 (Wire Fraud and Conspiracy
to Commit Wire Fraud), and 18 U.S.C. §§ 1956 and 1957 (Money Laundering
and Conspiracy to Launder Monetary Instruments).

      The facts to support a finding of Probable Cause are contained in my
Affidavit filed herewith.




                                      Matthew J. MUW,Special Agent
                                     Federal Bureau of Investigation

      Sworn to before me, and subscribed in my presence on the      /3     day of
December, 2019, at Sioux Falls, South Dakota.



                                     VERONICA L. DUFFY
                                     UNITED STATES MAGISTRATE J




                                                                  CO         V
                                                                           (r-
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                        ATTACHMENT A "REDACTED"


                            Property to Be Searched


      The property to be searched is currently in the custody of the Federal

Bureau of Investigation in Sioux Falls, South Dakota, and the property is more

fully described as:

      1.    Black Kenneth Cole laptop bag;

      2.    Samsung Galaxy S9+ Blackphone, IMEl #|

      3.    Lenovo laptop, serial number|
      4.    Lenovo laptop, serial number|

      5.    Toshiba hard drive, serial number|

      6.    WD Elements hard drive, serial number|

      7.    "Blackphone" mobile phone, IMEI #|
      8.    NEXUS LG mobile phone, LG-H791;

      9.    Sony digital recorder, model ICD-UX560; and

      10.   Mophie hard drive, serial number

      This warrant authorizes the physical search of Item #1 and authorizes the

forensic examination of the listed digital media for the purpose of identifying the

electronically stored information described in Attachment B.
  Case 4:19-mj-00088-VLD Document 1 Filed 12/13/19 Page 3 of 27 PageID #: 3




                        ATTACHMENT B "REDACTED**


                        Particular Things to be Seized

      All information described below that constitutes fruits, evidence, and
instrumentalities of the violations identified in the Affidavit for the time period
beginning January 1, 2015, through the present shall be subject to this Search
Warrant:
                                                          r"-,




      1.    Phone call documentation, including incoming, outgoing, missed, or
attempted calls along with contact lists and their related identifying information
and phone numbers, including deleted contacts along with data access and
modification records, which may indicate when or how data is stored or used.

      2.     Electronic message documentation and content, including sent,
unsent, received, or attempted messages whether they are texts, tweets, images,
videos, e-mails, or some other form of electronic message, from any proprietary
cellular software, or third party application including, but not limited to,
applications such as Facebook, Facebook Messenger, Snapchat, and WhatsApp,
among others.

      3.    Subscriber and account information.


      4.     Digital images, including photographs and/or videos which may
tend to show ownership of the electronic devices along with evidence of bank
records, wire transfer documents, transaction documents, money order
documents, cashier check documents, ledgers, lists of other bank accounts,
stolen PlI, and other electronic records or media (CD's, DVD's,flash drives, etc.),
contact information of others involved in the conspiracy to commit wire fraud
and/or conspiracy to launder monetary instruments and the fruits of other
crimes, and other evidence relating to a violation of 18 U.S.C. §§ 1341 (Mail
Fraud), 1343 (Wire Fraud), 1349 (Conspiracy), and 1956 and 1957 (Money
Laundering and Conspiracy).

      5.     Digital documents showing who used or owned the electronic
devices at the time the things described in this warrant were created edited, or
deleted, including, but not limited to, bills or other business-related documents,
correspondence, photographs, phonebooks, documents, and browsing history
including saved usernames and passwords.

      6.    Records that show the use of the internet to communicate with co-
conspirators, including, but not limited to, records of Internet Protocol (IP)
addresses used, firewall logs, caches, browser history, cookies,"bookmarked" or
"favorite" web pages, search terms the user entered into any Internet search
engine, and records of user-typed web addresses.
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      7.      Voicemail documentation and content which may tend to show the
identity of co-conspirators and/or the objects of the eonspiracies to commit wire
fraud and/or launder monetary instruments.

       8.    Global Positioning Satellite (GPS) data which may show travel to or
from a location in a particular place and time, which may establish the location
of suspect residences and storage facilities, identify co-conspirators, meeting
locations, patterns of travel, or associate the user of the device to the offenses
listed above in Paragraph 4, or link them to other crimes heretofore unknown.

      9.     Digital documents or other items tending to identify co-conspirators,
clients, investors, customers, and sources, ineluding, but not limited to,
contacts, electronic messages, notes, memoranda, photographs, address, and
phone books, maps, organizers, or lists of names.

        As used above, the terms "records" and "information" include all of the
foregoing items of evidence in whatever form and by whatever means they may
have been ereated or stored, including any form of computer or electronic storage
(such as flash memory or other media that ean store data) and any photographic
form.


      The Government agrees to request another search warrant from the Court
before it reviews data from the electronic storage media or electronically stored
information seized pursuant to this warrant for purposes unrelated to this
investigation or for purposes that may expand the timeframe to dates earlier than
January 1, 2015.




                                       [2]
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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION




  In the Matter of the Search Regarding No. _ iq-mj- .^9
  19-131-04                                SEARCH AND SEIZURE WARRANT
                                          "REDACTED"




TO:   ANY AUTHORIZED LAW ENFORCEMENT OFFICER


     An application by a federal law enforcement officer or an attorney for the
government requests the search of the following properly located in the District
of South Dakota: that fully described in Attachment A, attached hereto and
incorporated herein by reference.

     I find that the affidavit, or any recorded testimony, establish probable
cause to search and seize the property described above, and that such search
will reveal property constituting evidence of the commission of criminal offenses,
contraband, the fruits of crime, or things otherwise criminally possessed, or
properly designed or intended for use or which is or has been used as the means
of committing criminal offenses, concerning violations of 18 U.S.C. § 1341 (Mail
Fraud); 18 U.S.C. §§ 1343 and 1349 (Wire Fraud and Conspiracy to Commit Wire
Fraud), and 18 U.S.C. §§ 1956 and 1957(Money Laundering and Conspiracy to
Launder Monetary Instruments), as fully described in Attachment B, attached
hereto and incorporated herein by reference.

      YOU ARE COMMANDED to execute this warrant on or before
                                  (not to exceed 14 days)
^n the daytime - 6:00 a.m. to 10:00 p.m.
□ at any time in the day or night as 1 find reasonable cause has been established.

     Unless delayed notice is authorized below, you must give a copy of the
warrant and a receipt for the property taken to the person from whom, or from
whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

     The officer executing this warrant, or an officer present during the
execution of the warrant, must prepare an inventory as required by law and
promptly return this warrant and inventory to the undersigned Judge.



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      □ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification
may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person
who, or whose property, will be searched or seized,
□ for         days (not to exceed 30).
□ until, the facts justifying, the later specific date of                  .


                                        Sioiax Falls, South Dakota
Date and Time Issued




                                       VERONICA L. DUFFY
                                       UNITED STATES MAGISTRATE          DOE




                                         [2]
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                        ATTACHMENT A "REDACTED'*

                            Property to Be Searched


      The property to be searehed is eurrently in the eustody of the Federal

Bureau of Investigation in Sioux Falls, South Dakota, and the property is more

fully described as:

      1.    Black Kenneth Cole laptop bag;

      2.    Samsung Galaxy S9+ Blackphone, IMEl #|

      3.    Lenovo laptop, serial number

      4.    Lenovo laptop, serial number|
      5.    Toshiba hard drive, serial number

      6.    WD Elements hard drive, serial number]

      7.    "Blackphone" mobile phone, IMEl #|
      8.    NEXUS LG mobile phone, LG-H791;

      9.    Sony digital recorder, model 1CD-UX560; and

      10.   Mophie hard drive, serial number

      This warrant authorizes the physical search of Item #1 and authorizes the

forensic examination of the listed digital media for the purpose of identifying the

electronically stored information described in Attachment B.
  Case 4:19-mj-00088-VLD Document 1 Filed 12/13/19 Page 8 of 27 PageID #: 8




                         ATTACHMENT B "REDACTED*'


                         Particular Things to be Seized

      All information described below that constitutes fruits, evidence, and
instrumentalities of the violations identified in the Affidavit for the time period
beginning January 1, 2015, through the present shall be subject to this Search
Warrant:


      1.    Phone call documentation, including incoming, outgoing, missed, or
attempted calls along with contact lists and their related identifying information
and phone numbers, including deleted contacts along with data access and
modification records, which may indicate when or how data is stored or used.

      2.     Electronic message documentation and content, including sent,
unsent, received, or attempted messages whether they are texts, tweets, images,
videos, e-mails, or some other form of electronic message, from any proprietary
cellular software, or third party application including, but not limited to,
applications such as Facebook, Facebook Messenger, Snapchat, and WhatsApp,
among others.

      3.    Subscriber and account information.


      4.     Digital images, including photographs and/or videos which may
tend to show ownership of the electronic devices along with evidence of bank
records, wire transfer documents, transaction documents, money order
documents, cashier check documents, ledgers, lists of other bank accounts,
stolen PII, and other electronic records or media (CD's, DVD's, flash drives, etc.),
contact information of others involved in the conspiracy to commit wire fraud
and/or conspiracy to launder monetary instruments and the fruits of other
crimes, and other evidence relating to a violation of 18 U.S.C. §§ 1341 (Mail
Fraud), 1343 (Wire Fraud), 1349 (Conspiracy), and 1956 and 1957 (Money
Laundering and Conspiracy).

      5.     Digital documents showing who used or owned the electronic
devices at the time the things described in this warrant were created edited, or
deleted, including, but not limited to, bills or other business-related documents,
correspondence, photographs, phonebooks, documents, and browsing history
including saved usernames and passwords.

      6.    Records that show the use of the internet to communicate with co-
conspirators, including, but not limited to, records of Internet Protocol (IP)
addresses used, firewall logs, caches, browser histoiy, cookies,"bookmarked" or
"favorite" web pages, search terms the user entered into any Internet search
engine, and records of user-typed web addresses.
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      7.      Voicemail documentation and content which may tend to show the
identity of co-conspirators and/or the objects of the conspiracies to commit wire
fraud and/or launder monetaiy instrurhents.

      8.    Global Positioning Satellite (GPS) data which may show travel to or
from a location in a particular place and time, which may establish the location
of suspect residences and storage facilities, identify co-conspirators, meeting
locations, patterns of travel, or associate the user of the device to the offenses
listed above in Paragraph 4, or link them to other crimes heretofore unknown.

      9.     Digital documents or other items tending to identify co-conspirators,
clients, investors, customers, and sources, including, but not limited to,
contacts, electronic messages, notes, memoranda, photographs, address, and
phone books, maps, organizers, or lists of names.

        As used above, the terms "records" and "information" include all of the
foregoing items of evidence in whatever form and by whatever means they may
have been created or stored, including any form of computer or electronic storage
(such as flash memory or other media that can store data) and any photographic
form.


      The Government agrees to request another search warrant from the Court
before it reviews data from the electronic storage media or electronically stored
information seized pursuant to this warrant for purposes unrelated to this
investigation or for purposes that may expand the timeframe to dates earlier than
January 1,2015.




                                       [2]
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION



 In the Matter of the Seizure of           No.


 19-131-04                                 AFFIDAVIT IN SUPPORT OF
                                          SEARCH WARRANT"REDACTED"




STATE OF SOUTH DAKOTA )
                              :SS
COUNTY OF MINNEHAHA           )

      I, Matthew J. Miller, being first duly sworn, hereby depose and state as
follows:


                 INTRODUCTION AND AGENT BACKGROUND


      1.    I make this affidavit in support of an application for a warrant to
search the following items:

             Black Kenneth Cole laptop bag;
             Samsung Galaxy S9+ Blackphone, IMEI #
             Lenovo laptop, serial number
             Lenovo laptop, serial number
             Toshiba hard drive, serial number
             WD Elements hard drive, serial number
             "Blackphone" mobile phone, IMEI
             NEXUS LG mobile phone, LG-H791;
             Sony digital recorder, model ICD-UX560; and
             Mophie hard drive, serial number

      2.     I am a Special Agent of the Federal Bureau of Investigation and have
served in that capacity for 27 years. During this time, I have received specialized
training in white collar crime investigation by attending various seminars and
classes specifically related to white collar crime. I have also worked a substantial
number of white collar crime cases, including multiple cases related to mail
fraud, wire fraud, and money laundering.              /

      3.     Information contained within this Affidavit is based on my
investigation, training, and experience, as well as information developed and
relayed to me by other law enforcement officers. I have set forth facts that I
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believe are necessaiy to establish probable cause to seize instrumentalities,
fruits, and evidence of violations of 18 U.S.C. §§ 1341 (Mail Fraud), 1343 (Wire
Fraud), 1349 (Conspiracy to Commit Wire Fraud), and 1956 and 1957 (Money
Laundering and Conspiracy to Launder Monetary Instruments), as detailed in
Attachment B, attached hereto and incorporated by reference. The IRS and FBI
have been investigating what appears to be a scheme to defraud investors. The
investigation, as detailed below, has revealed facts establishing probable cause
that evidence, fruits, and instrumentalities of the scheme will be located in the
computers, hard drives and phones detailed in Attachment A, attached hereto
and incorporated herein by reference.

                            RELEVANT STATUTES


      4.    The application for a Search Warrant, which this Affidavit is offered
in support thereof, is being applied to seize instrumentalities, fruits, evidence,
more particularly described in Attachment A, for violations of;

      a.    18 U.S.C. § 1343, which makes it a crime to engage in a scheme or
            artifice to defraud another, and obtain the money and property of
            another, by false and fraudulent pretenses, that involves a wire
            transmission and interstate or foreign commerce for the purpose of
            executing the scheme or artifice.

      b.    18 U.S.C. § 1341, which makes it a crime to engage in a scheme or
            artifice to defraud another and obtain the money and property of
            another, by false and fraudulent pretenses, that involves the use of
            the United States Postal Service.



      c.    18 U.S.C. 1956 which makes it a crime to knowingly conduct or
            attempt to conduct certain financial transactions to conceal or
            disguise the nature of, location, source ownership or control of the
            proceeds of a specified unlawful activity.


      d.    18 U.S.C. 1957 which makes it a crime to knowingly engage or
            attempt to engage in a monetary transaction in criminally derived
            property of a value greater than $10,000 and is derived from a
            specified criminal activity.

                       OVERVIEW OF INVESTIGATION


      5.    A joint FBI/IRS investigation has revealed that, between 2015 and
the present, Nathan Peachey and several associates solicited over $10 million

                                       [2]
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from victims in multiple states for "humanitarian purposes" promising the
investment would be safe and the prineipal would never be touched. In fact, the
money was used to purchase and remodel a luxury home in Norway, to purchase
silver coins, to purchase a Mercedes Benz automobile, and to fund various
personal purehases. Peachey utilized wire transfers, emails, text messages, and
telephonic communications as a part of running and participating in the scheme
for which Peachey, along with others, was recently indicted in the District of
South Dakota, more fully described in Attachment C, which is attached hereto
and incorporated herein by reference. Following the grand jury's return of the
indictment against Peachey, this Court issued an arrest warrant. On December
6, 2019, this Court's arrest warrant was exeeuted at customs in JFK
International Airport in Queens, New York. Peachey was returning from Africa,
via Paris, France. Immediately following his arrest, the arresting offieers
searched Peaehey incident to arrest and conducted an international-border
seareh. At the time of his arrest, Peaehey possessed the items identified in
Attachment A, attached hereto and incorporated by reference. These items were
then inventoried and transported to the Distriet of South Dakota. These are the
items for which a Search Warrant is being sought.

                                BACKGROUND


      6.     The investigation began in Oetober 2016, when the South Dakota
Division of Criminal Investigation interviewed Jane and Jim Odle of Lake Norden,
South Dakota, who had recently transferred approximately $700,000 from a
bank account in South Dakota to an account controlled by John Rick Winer in
New Mexico. The interview revealed the money was an investment in a scheme
known as G-47, being run by Winer, who lived in New Mexico, and Nathan
Peachey, who lived in Pennsylvania.

      7.    The IRS and FBI reviewed Bank of America account records showing
that, between about 2016 and 2018, WINER received approximately $2.5 million
from the Odie's and other elients/investors and sent some of this money to
Nathan Peachey via an account in the name of Jerieho Outreach. Peachey in
turn transferred the money to bank accounts in Norway, located at DNB Bank.

      8.    The FBI and IRS reviewed DNB Bank accounts in Norway to which
the money was transferred (account numbers
in name of Jericho Outreach) and determined the accounts were controlled by
Nathan Peachey and Lubova Burkute. Peaehey is listed in these documents as
the secretary of Jericho Outreach and Burkute as its treasurer and both were
signers on the aceounts.

                          INVESTOR INTERVIEWS


      9.    The FBI and IRS have interviewed multiple investors in this matter.
Examples of three investors who had telephonic and or email communication


                                      [3]
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with Nathan Peachey are summarized below:

      10.   The FBI and IRS interviewed Jim and Jane Odie of South Dakota
who, in the Spring and early Fall of 2016, invested in G-47, an entity run by
Nathan Peachey and John Rick Winer. The Odie's invested $50,000 of their own
money and $562,414.46 of money belonging to Jane's Great Uncle, Marvin
Martilla, for whom she served as a power-of-attorney. The Odies spoke with
Winer and Peachey by telephone, both of whom assured the OdIes that their
money was being put in a safe place and would be used in some way to help
humanitarian causes, such as providing clean drinking water and helping to
reduce poverty. The investment would also return between 10-25 percent the
first year and more in following years. Winer and Peachey assured the OdIes
that their principal investment would never be reduced. The Odie's sent their
investment to Winer via U.S. Mail. Peachey and Winer told the OdIes that they
would be able to view statements about their account online but they were never
able to do so and no such statements were provided. Winer and Peachey also
told the OdIes that they could get their money back at any time. In October of
2017, the Odie's demanded their money back but have only received $30,000.
The $30,000 was returned to them from a Jericho Outreach bank account.

      11.   The FBI and IRS interviewed Robert MoIIer of Tucson, Arizona. In
the Fall of 2016, MoIIer invested $784,159.00 into Jericho Outreach, an
organization run by Nathan Peachey with the assistance of John Rick Winer.
Peachey and Winer told MoIIer the money would be pooled with other investor
money and then leveraged to obtain financing for humanitarian projects.
Peachey and Winer further assured MoIIer that the principal would never be
touched and he could get it back at any time. Winer and Peachey also said they
would not use his investment money for personal expenses, travel expenses, or
administrative expenses related to Jericho Outreach. MoIIer did not expect his
investment money would be used to purchase gold, silver, or foreign currency.
Winer and Peachey sometimes gave updates on the projects via phone or email.

      12.   The FBI and IRS interviewed Mark Jones of Charlotte, North
Carolina. In about 2012, Jones invested $22,000 in a project run by Peachey
and Winer, which was known as G-64, an organization dedicated to
humanitarian projects. Jones is also aware of approximately 100 other
investors. Peachey communicated with Jones and the other investors both by
email and by telephone arid the group of investors, including Jones, most
recently received an email from Nathan Peachey on about November 2, 2019..
This email discouraged cooperation with law enforcement. Similarly, about a
year ago, a large group of investors received a group text from Nathan Peachey
discouraging the investors from working with the FBI.




                                     [4]
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                            FINANCIAL ANALYSIS

Followinp the money sent to Winer
      13. The FBI/IRS reviewed domestic bank accounts controlled by John
Rick Winer including: Bank of America Acct # ending in 6307, registered to
"House of Winer," Bank of America Acct # ending in 0032, registered to "Jacobs
Provision Trust," and Wells Fargo Bank Acct # ending in 8887, registered to "AG
Enterprises" as well as a bank aceount controlled by Nathan Peacbey, held at
Bank of America (Acct # ending in 7170), registered to "Jericho Outreach."

      14. This review determined the total amount of money from investors
deposited into accounts controlled by Winer was $2,468,573.46. Of this amount,
$2,056,243.81 was transferred to a Jericho Outreach account at Bank of
America controlled by Nathan Peacbey; $283,651.31 appears to have been used
personally by Winer, and $118,000 was returned to investors. ,

      15. Of the $2,056,243.81 transferred to the Jericho Outreach account
at Bank of America controlled by Nathan Peacbey, $1,125,000 was transferred
to DNB Bank in Norway (to an account registered to "Jericho Outreach,-
Norway"), $113,166.67 was transferred to DNB Bank in Norway (to an aceount
registered to Lubova Burkute, a Latvian citizen and an associate of Nathan
Peaehey), $157,095.50 was wired to JM Bullion to purchase silver coins,
$592,037.84 appears to have been used for personal expenses by Peacbey,
ineluding equipment for his farm, and $55,000 appears to have been paid back
to investors.


Money in the Norwau Accounts
     16. The FBI/IRS have reviewed DNB bank records for accounts located
in Norway to which investor money was transferred (account numbers
HHHH and                         in     name Jericho Outreach) and determined
the aeeounts were eontrolled by Peacbey and Burkute. Peacbey is listed in these
documents as the secretary of Jericho Outreach and Burkutte as its treasurer
and both were signers on the accounts. The opening applieation shows Jericho
Outreach was a "global distributor of Essential Oils," but it appears the money
transferred to the accounts was generated from the investment scheme
previously described and not from the sale of Essential Oils.

      17. The DNB bank records show that, in addition to the $1,125 million
obtained through Winer (described above in paragraphs 10, 11 and- 12), an
additional $5,000,000 was transferred to the Jericho Outreach account at DNB
Bank in Norway in June of 2016, from a domestic bank account registered to
"The Joseph Project," bringing the total transferred from the US to these
aeeounts to $6,125,000 between late 2015 and early 2018.




                                      [5]
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        18.   The Joseph Projeet is relevant to a portion of the offense conduct
alleged in a currently sealed indictment in the District of South Dakota, charging
Peachey and two Others with conspiracies to commit wire fraud and launder
monetaiy instruments (CR 19-40097), as more fully set forth in Attachment C,
attached hereto and incorporated herein by reference. In addition. The Joseph
Project also relates to an active FBI investigation and state prosecution of two
other individuals in the State of Arizona. 1 have reviewed the documents in this
FBI file and the investors in that scheme were also told their money would be
used to leverage funds for humanitarian causes and their principal was not at
risk.


How the money was spent
     19. The DNB bank records did not reveal money being spent for
humanitarian purposes. Instead, the money appeared to be spent on real and
personal property, including silver, a house, and a car as indicated below:


        20.   Since January of 2018, Peachey purchased             approximately
$2,969,150 in Silver Coins from the JM Bullion Co. in the United States, using
funds from the Jericho Outreach accounts at DNB Bank. The FBI and IRS have
examined records concerning the purchase of this silver and determined it was
shipped to Oslo, Norway. The Norwegian authorities (acting on a request from
the FBI/IRS) have since seized about half of those coins, which were being stored
in the house described in paragraph 21 below.

        21.   In 2017 and 2018, the DNB accounts in the name Jericho Outreach
were used to purchase a house and remodel it

              On April 27, 2017, Jericho Outreach purchased a residence at
                                     Sandvika, Norway, in the amount of
              approximately $1,330,000. Sales records obtained show Jericho
              Outreach as the purchaser of the property, and Peachey and
              Burkute signed the purchase agreement for the residence.

        •     Between 2017 and 2018, payments in the approximate amount of
              $1,163,500 were made to renovate and furnish the residence at
                             in Sandvika, Norway. The FBI/IRS interviewed the
              general contractor for the house, Remy Ostuft, who said Lubova
              Burkute insisted on only the veiy finest and highest end materials
              for the remodel.


        22.   On December 13, 2016, Nathan Peachey purchased, for $83,000, a
Mercedes Benz GLC250 4M, using funds from the DNB Jericho Outreach
accounts from the Bertel O Steen Mercedes-Benz dealership in Oslo, Norway. In
October 2019, Peachey was interviewed by IRS/FBI case agents. Peachey stated



                                       [6]
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that he used part of the "investment" funds to purchase the vehicle.

      23. Peachey stated that The Joseph Project is an "ecclesiastical group"
which is "one of the assignments we took on." Peachey explained, "We took
money under an ecclesiastical agreement. There were ecclesiastical terms and
conditions. It was an international group and I'm a small part of it." Peachey
stated that money from TJP was deposited into the JERICHO OUTREACH bank
account in Norway. Peachey also indicated that the funds were used for
"humanitarian purposes;" specifically, he said it had been used first to build a
"giant house" which serves as "the international headquarters for the Christian
Charity Foundation in Norway" and some of it had been used to purchase silver.

                       ARREST OF NATHAN PEACHEY


      24. I am aware that, on December 6, 2019, Nathan Peachey returned
from Guinea to the United States via an aircraft and was taken into custody by
the U.S. Customs and Border Patrol Service in John F. Kennedy Airport, located
in Queens, New York, based upon a federal arrest warrant issued in this case.

      25. I have spoken with Kareem J. Mekenzie, the Border Patrol Agent who
took Peachey into custody. Mekenzie turned Peachey over the US Marshal's
Service but was left with a laptop bag belonging to Peachey. Peaehey's laptop
bag contained several electronic items detailed in Attachment A. Since the
Marshal's do not accept personal property, Mekenzie inventoried and turned over
the items to the FBI because the warrant came from its investigation.

      26. Mekenzie informed me that he turned over the following items to the
FBI airport office at JFK International:

            Black Kenneth Cole laptop bag;
            Samsung Galaxy S9+ Blackphone, IMEI #|
            Lenovo laptop, serial number
            Lenovo laptop, serial number
            Toshiba hard drive, serial number
            WD Elements hard drive, serial number
            "Blackphone" mobile phone, IMEI #|
            NEXUS LG mobile phone, LG-H791;
            Sony digital recorder, model ICD-UX560; and
            Mophie hard drive, serial number

                       USE OF COMPUTERS/PHONES

      27. Based on the foregoing, I believe probable cause exists showing that
Nathan Peachey utilized computers and telephones in perpetrating his scheme
to defraud based on interviews with Jim and Jane Odle, Jim Moller, and Mark


                                      [7]
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Hall, each of whom indicated they had telephonic and or email eontact with
Peachey regarding the seheme (see Paragraphs 10, 11 and 12).

       28. Based on the foregoing, I also believe probable cause exists showing
that Nathan Peachey utilized computers and telephones in perpetrating his
scheme to defraud beeause I have personally observed emails to and from him
concerning the scheme while reviewing materials seized during a seareh warrant
of the house at                      Sandvika, Norway.

     •29. I know that computers, electronie storage devices, and phones may
be important to a criminal investigation in two distinct ways: (1) the objects
themselves may be contraband, evidence, instrumentalities, or fruits of crime,
and/or (2) the objects may be used as storage devices that eontain eontraband,
evidenee, instrumentalities, or fruits of crime in the form of eleetronic data. In
this ease, 1 request permission to search the eontents and all electronieally
stored information within the electronic storage devices described above and in
Attachment A, attached hereto and ineorporated herein by referenee. Based
upon the totality of the investigation, 1 have reason to believe there is probable
cause to seareh above-described electronic storage devices and that the search
may recover bank reeords, wire transfer doeuments, money order documents,
cashier eheck documents, ledgers, lists of other bank aecounts, stolen PIl, and
other electronic records or media (CD's, DVD's, flash drives, etc.), text messages,
eleetronie-mail messages, and contaet information of others involved in the
eonspiracy to commit wire fraud (18 U.S.C. §§ 1343 and 1349), eonspiraey to
launder monetary instruments (18 U.S.C. _§§ 1956 and 1957), and the fruits of
other erimes, including mail fraud, wire fraud, and money laundering, as more
fully described in Attachment B, attached hereto and incorporated herein by
reference.

      30. At the time the aforementioned deviees were seized upon Peachey's
arrest at JFK, a forensic search of these deviees on site was not possible because
we did not have the technical equipment required to eonduet the search nor a
qualified person to do so. It is eommon praetiee for these deviees to be
forensieally searched at an offsite location that has the technieal personnel and
the correet forensic equipment to eonduet the search in a controlled setting.

      31.    Based upon the aforementioned, I am requesting that the eourt
authorize a search of the aforementioned eleetronic devices at an offsite law
enforcement facilily that has the teehnology and capability to conduct the
forensic examination. I further request that the examining ageney be allowed to
examine/search the seized electronic devices at a date and time determined by
that agency.




                                       [8]
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                                 CONCLUSION

      Based on the information provided, there is probable cause to conclude
that evidence, fruits, and instrumentalities of the scheme and criminal offenses,
as detailed in Attachment B that is attached hereto and incorporated by
reference, that may constitute mail fraud (18 U.S.C. § 1341), wire fraud and
conspiracy to commit wire fraud (18 U.S.C. §§ 1343 and 1349), and money
laundering and conspiracy to launder monetary instruments(18 U.S.C. §§ 1956
and 1957) will be located in the computers, hard drives, and phones detailed in
Attachment A, attached hereto and incorporated herein by reference.


                                     Matthew J. Miller, Special Agent
                                     Federal Bureau of Investigation

      Sworn to before me, and subscribed in my presence on the II ^ day of
December, 2019, at Sioux Falls, South Dakota.


                                     Veronica L. Duffy
                                     United States Magistrate Judg




                                      [9]
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                         ATTACHMENT A "REDACTED"

                            Property to Be Searched


      The property to be searched is currently in the custody of the Federal

Bureau of Investigation in Sioux Falls, South Dakota, and the property is more

fully described as:

      1.     Black Kenneth Cole laptop bag;

      2.    Samsung Galaxy S9+ Blackphone, IMEl #|

      .3.   Lenovo laptop, serial number

      4.    Lenovo laptop, serial number|
      5.    Toshiba hard drive, serial number

      6.    WD Elements hard drive, serial number|

      7.    "Blackphone" mobile,phone, IMEl #|

      8.    NEXUS LG mobile phone, LG-H791;

      9.    Sony digital recorder, model ICD-UX560; and

      10.   Mophie hard drive, serial number

      This warrant authorizes the physical search of Item #1 and authorizes the

forensic examination of the listed digital media for the purpose of identifying the

electronically stored information described in Attachment B.
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                        ATTACHMENT B "REDACTED"


                         Particular Things to be Seized

      All information described below that Constitutes fruits, evidence, and
instrumentalities of the violations identified in the Affidavit for the time period
beginning January 1, 2015, through the present shall be subject to this Search
Warrant:


      1.    Phone call documentation, including incoming, outgoing, missed, or
attempted calls along with contact lists and their related identifying information
and phone numbers, including deleted contacts along with data access and
modification records, which may indicate when or how data is stored or used.

      2.     Electronic message documentation and content, including sent,
unsent, received, or attempted messages whether they are texts, tweets, images,
videos, e-mails, or some other form of eleetronie message, from any proprietaiy
cellular software, or third party application including, but not limited to,
applications such as Facebook, Facebook Messenger, Snapchat, and WhatsApp,
among others.

      3.    Subscriber and account information.


      4.     Digital images, including photographs and/or videos which may
tend to show ownership of the eleetronie devices along with evidence of bank
records, wire transfer documents, transaction documents, money order
documents, cashier check documents, ledgers, lists of other bank accounts,
stolen PlI, and other electronic records or media (CD's, DVD's, flash drives, etc.),
contact information of others involved in the conspiracy to commit wire fraud
and/or conspiracy to launder monetary instruments and the fruits of other
crimes, and other evidence relating to a violation of 18 U.S.C. §§ 1341 (Mail
Fraud), 1343 (Wire Fraud), 1349 (Conspiracy), and 1956 and 1957 (Money
Laundering and Conspiracy).

      5.     Digital documents showing who used or owned the electronic
devices at the time the things described in this warrant were created edited, or
deleted, including, but not limited to, bills or other business-related documents,
correspondence, photographs, phonebooks, documents, and browsing histoiy
including saved usernames and passwords.

      6.    Records that show the use of the internet to communicate with co-
conspirators, including, but not limited to, records of Internet Protocol (IP)
addresses used, firewall logs, caches, browser histoiy, cookies,"bookmarked" or
"favorite" web pages, search terms the user entered into any Internet search
engine, and records of user-typed web addresses.
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      7.      Voicemail documentation and content which may tend to show the
identity of co-conspirators and/or the objects of the conspiracies to commit wire
fraud and/or launder monetary instruments.

       8.    Global Positioning Satellite (GPS) data which may show travel to or
from a location in a particular place and time, which may establish the location
of suspect residences and'storage facilities, identify co-conspirators, meeting
locations, patterns of travel, or associate the user of the device to the offenses
listed above in Paragraph 4, or link them to other crimes heretofore unknown.

      9.     Digital documents or other items tending to identify co-conspirators,
clients, investors, customers, and sources, including, but not limited to,
contacts, electronic messages, notes, memoranda, photographs, address, and
phone books, maps, organizers, or lists of names.

        As used above, the terms "records" and "information" include all of the
foregoing items of evidence in whatever form and by whatever means they may
have been created or stored, including any form of computer or electronic storage
(such as flash memory or other media that can store data) and any photographic
form.


      The Government agrees to request another search warrant from the Court
before it reviews data from the electronic storage media or electronically stored
information seized pursuant to this warrant for purposes unrelated to this
investigation or for purposes that may expand the timeframe to dates earlier than
January 1, 2015.




                                       [2]
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                     ATTACHMENT C "REDACTED"

                          UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                       SOUTHERN DIVISION



UNITED STATES OF AMERICA,                         ■4;19-CR-40097


                     •Plaintiff,                  REDACTED INDICTMENT
      V.   - -   '
                                                  Conspiracy to Commit Wire Fraud
LOREN WILLIAM ROSIER,                             18 U.S.C. §§ 1343 and 1349
NATHAN PEACHEY, and
JOHN RICK WINER,    .                             Conspiracy to Launder Monetary
                                                  Instruments
                     Defendants.                  18 U.S.C. §§ 1956(a)(l)(B)(i) and
                                                  1956(h)


      The Grand Jury charges:

                                           COUNT'l •                                  i
      (Conspiracy.to Commit Wire Fraud-18 U.S.C. §§ 1343 and 1349)

      Be^hning at a time unknown, but no. later than on or about 2015, ahd

continuing through the date of this .Indictment, in the District of South Dakota

and elsewhere, the Defendants, Lbren William Rosier, Nathan.Peachey, and John

Rick Winer, with others known and unknown to the Grand Jury, did conspire to

commit the offense of wire fraud, in violation of 18 U.S.C. §§ 1343 and 1349.

Defendants Loren Williain Rosier, Nathan Peachey, and John Rick Winer willfully
                 j          '      ■          ;           ■   •    . ■
iand unlawfully devised and intended to devise a scheme and artifice to defraud

and to obtain money and property from others by means of false ,and fraudrdent

pretenses, representations, and promises.

      In furtherance of the conspiracy, Defendants Loren William Rosier, Nathan

Peachey, and John Rick Winer, and others knovm and unknown to the Grand
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 "Juiy, informed investors that the monies provided to one or more of the co-

 conspirators would be used for charitable and humanitarian projects and that

 there would be a return on investments. Defendants Loren William Rosier,

 Nathan Peachey, and John Rick'Winer, arid others known and unknown to the

 Grand Jury, informed investors that the monies provided to one or more of the

. co-conspirators would not be expended on personal expenses. Investor money

 was not used for charitable or for humanitarian projects, and investors have not

 received a return on investments relating to the monies provided to Defendants

 Loren William Rosier, Nathan Peachey, or John Rick Winer.

      . As a part of the scheme and artifice to defraud, and in furtherance of the

. conspiracy. Defendants Loren William Rosier," Nathan Peachey, and John Rick

 Winer sought and obtained.monies, rnonetaiy instruments, and money transfers •

 from individuals who were the vicriims of the scheme. Defendants Loren William

 Rosier, Nathan Peachey, and John Rick Winer acted willfully, for the purpose of

 enriching themselves and others, knowing of the unlawful purpose of. the

 schemej in whole or in part, when they participated in. it.

       At times relevant to his. case, in the District of South Dakota and

 elsewhere. Defendants William Rosier, Nathan Peachey, and John Rick Winer,

 and others known and unknown to the Grand Jury, having devised the above-

 described scheme and artifice to. defraud, caused communications to be sent to

 South Dakota and elsewhere, and did knowingly use arid cause communications

 to be transriiitted in interstah; or foreign commerce, by means of a wire




                                        [2]
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 communication, wntings, signs, signals, and sounds, for the purpose of
 executing such scheme,and artifice.

         Defendants'acts and omissions were in violation of 18 U.S.C. §§ 1343 and
 1349.         .   .        .■     .

                                       COUNT2

                   (Conspiracy to Launder Monetary Instruments -
                       18 U.S.C.,§§ 1956(a)(l)(B)(i) and 1956(h))
       Beginning at a time unknown, but no later than on or about 2015, and
. continuing throu^ tlie date of this Indictment, in the District of South Dakota

 and elsewhere, the Defendants, Loren William Rosier, Nathan Peachey,and John

 Rick Winer, did knowingly and intentionally combine, conspire, confederate, and
 agree together, with others known and unknown to the Grand Jury, to knowingly

conduct and attempt to conduct financial transactions affecting interstate and

Toreign commerce,, to wit: . depositing, transferring, wiring, and withdrawing

 U.S. Currency at financial institutions, which involved the proceeds of a specified

unlawful activity, that is, wire and mail fraud, knowing that.the transactions

were designed in whole and in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of said,specified unlawful activity,

and that while conducting and attempting to conduct such financial transactions

Defendants Loren William Rosier, Nathan Peachey, and John Irick Winer knew

that the properly involved in the financial transactions represented the proceeds

of some form of unlawful activity, all iri.violation of 18 U.S.C. §§ 1956(a)(l)(B)'(i)

and 1956(h)..




                                         [3]
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              . FORFEITURE ALLEGATION RELATING TO COUNT 1

      The allegations in Count 1 of this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to 18

;U,S.C. § 981(a)(1)(c), and 28 U.S.C.§ 2461(c).
      Pursuant to 18 U.S.C.§ 981(a)(1)(C) and 28 U.S.C.§ 2461,upon conviction

of the offense set forth in Count 1 of this Indictment,"Defendants Loren William

Rosier, Nathan Peachey, and John Rick Winer shall forfeit to the United States,

pursuant to 18 U.S.C.§ 981(a)(1)(C) and 28 U.S.C. § 2461, any property, real or

personal, which constitutes or is derived from proceeds traceable to such

violations.


      If any of the property described above, as a result of any act or omission

of the defehdant;                                 ■    -

              a.    cannot be located upon the exercise of due diligence;

              b.    has been transferred or sold to, or deposited with, a third
                    party;

              c.    has been placed beyond the jurisdiction of the court;

              d. , has been substantially diminished in value; or

              e.    has been commingled with other property which ,cannot be
                    divided without difficulty,

the United States of Arrierica shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853'(p), as incorporated by Title

28, United States Code, Section 2461(c).              . •   •




                                        [4]
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              FORFEITURE ALLEGATION RELATING TO COUNT 2

      The allegations contained-in Count 2 of this Indictment. are hereby,

realleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to 18 U.S.C. § 982(a)(1).

      Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of an offense in

violation of 18 U.S.C. §§ 1956(a)(l)(B)(i) and 1956(h) as alleged in Count 2 of this

Indictment, Defendants Loreii William Rosier, Nathan Peachey, and John Rick

Winer shall forfeit to the United States of America any property, real or personal,

involved in such offense, and any property traceable to such property.

      If.any of the property described above, as a result of any act of omission

of the defendant[s]:

            a.     cannot be located upon the exercise of due diligence;

            b. . has been transferred.or sold to, or deposited with, ,a third
                    party;

            c. ■   • has been placed beyond'the jurisdiction of the court;    ,

            d.     has been substantially diminished in value; or

            e.,    has been commingled with other property which cannot be .
                    divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

18, United States Code, Section 982(b)(1) and Title 28, United States Code,

Section 2461(c).




                                        ■[5]
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                                         ATRUEBII^:


                                         Name Redacted

                                         Forcperson

RONALD A, PARSONS, JR.
United States Attorney




                                   [6]
